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                         Exhibit B
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Sept. 29, 2021

BY ELECTRONIC MAIL

Janet Woodcock, M.D.
Acting Commissioner
United States Food and Drug Administration
10903 New Hampshire Ave.
Silver Spring, MD 20993-0002

Re:    Evidence Supporting Elimination of the Mifepristone REMS

Dear Dr. Woodcock:

       We are the health care providers and researchers engaged in litigation challenging the Risk
Evaluation and Mitigation Strategy (“REMS”) for mifepristone 200 mg for termination of early
pregnancy. We are pleased that the U.S. Food and Drug Administration (“FDA”) has initiated a
comprehensive evaluation of the mifepristone REMS and its three elements to assure safe use
(“ETASU”), and appreciate the opportunity to submit data and evidence for FDA’s review. 1
        As you know, it is our position that a REMS is not medically necessary to ensure that the
benefits of mifepristone outweigh its risks. 2 We note that one of the signatories to this letter (the
Society of Family Planning) is the organization that represents Complex Family Planning
Fellowship-trained obstetrician-gynecologists, who are the leaders in clinical care, medical
education, and research relating to abortion and contraception. Other leading medical authorities—
including the American Medical Association, the American College of Obstetricians and
Gynecologists, and the American Academy of Family Physicians—likewise support eliminating
these restrictions. 3 We hope that, following a comprehensive evaluation incorporating new data
and evidence from the past five years, FDA will reach the same conclusion.

                 The Mifepristone REMS with ETASU Does Not Enhance Safety

        As extensively detailed in the letter submitted by the Society of Family Planning on August
11, 2021, peer-reviewed scientific evidence, including research published since the most recent
FDA-approved labeling change in 2016, confirms that mifepristone is extremely safe and highly
effective whether dispensed at a health center, pharmacy, or by home delivery, and does not require
a clinician to oversee dispensing or specially certify their ability to provide appropriate care. The
evidence is clear that the mifepristone REMS and its three ETASU confer no benefit in terms of
safety, efficacy, or acceptability of the medication, are not “commensurate with” the risks of
mifepristone, 4 and create barriers to use that reduce patient access and negatively impact public
health, causing particular harm to communities of color, people with fewer resources, and people
living in rural areas.
        Mifepristone’s strong safety and efficacy findings hold true across a range of regulatory
contexts, including international and domestic studies operating outside of the ETASU C
dispensing framework. For instance, as you are aware, 5 a recent large (N=52,218) retrospective
cohort study reported on the safety, efficacy, and acceptability of telemedicine abortion at Britain’s

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largest abortion providers, which rapidly adapted to provide medication abortion using
telemedicine during the spring and summer of 2020 in response to the COVID-19 pandemic. 6
Following a telehealth consultation, individuals with a last menstrual period dating the pregnancy
up to 69 days and without symptoms of ectopic pregnancy were able to receive both mifepristone
and misoprostol by mail for home administration. Aiken and colleagues found that medication
abortion was equally effective in this telemedicine model (98.8%) versus the traditional in-clinic
mifepristone administration model (98.2%, p=1.0); that 99.98% of patients using the telemedicine
model experienced no serious adverse events compared to 99.96% of abortions with an in-person
assessment; and that patients obtaining their medications by mail following a telemedicine
consultation were able to initiate treatment earlier in pregnancy than patients utilizing the
traditional in-clinic model. Similarly, in a large (N=1,157 abortions) national U.S.-based clinical
trial of mifepristone dispensing by mail (the TelAbortion study), Chong and colleagues found that
mifepristone dispensing by direct mail to consumers is effective (95% abortion completion with
medication alone), with only 0.9% experiencing any serious adverse event, compared to a serious
adverse event rate of 0.65% in a large (N=233,805 medication abortions) retrospective cohort
study of in-clinic mifepristone administration. 7
         There is likewise no evidence that the ETASU A requirement that mifepristone prescribers
attest to their ability to prescribe mifepristone mitigates any safety risks of the medication. Indeed,
the evidence refutes this. For instance, in Canada, mifepristone-specific requirements for provider
certification were lifted in November 2017. According to a comprehensive analysis of linked
medical and financial records in Ontario, medication abortion remained extremely safe after
deregulation, with a major complication rate of 0.33% compared to a rate of 0.31% in an analysis
of a similar administrative dataset from California under the REMS, and consistent with a clinical
review finding major complication rates below 1% across multiple studies of mifepristone use for
early abortion. 8
        Finally, we agree with the recommendation of FDA’s scientific review team in 2016 to
eliminate ETASU D, after finding that this ETASU “does not add to safe use conditions” because
the Patient Agreement is “generally duplicative of information contained in the Medication Guide
and of information and counseling provided to patients under standard informed consent practices
for medical care and under professional practice guidelines.” 9

                 The Mifepristone REMS Is an Outlier and Unwarranted by
                           Mifepristone’s Strong Safety Record

        Consistent with strict statutory criteria, 10 FDA imposes REMS programs rarely: fewer than
3% of FDA-regulated drugs are subject to a REMS, 11 and the overwhelming majority of drugs
subject to a REMS are opioids—which, in FDA’s words, are “claiming lives at [such] a staggering
rate” that they are “reducing life expectancy in the United States.”12 FDA subjects only 17 drugs
(0.09%), including Mifeprex® and its generic, to a REMS requiring the patient to obtain the
medication in a clinic, office, or hospital. 13 And for all such drugs except mifepristone, FDA also
requires that the medication be taken under clinical supervision, either because of the
administration form (e.g., intravenous) or because it can be safely administered only in certain
settings (e.g., with monitoring for immediate reactions such as “life-threatening respiratory
depression”). In short, mifepristone is the only drug in the nation that FDA requires patients to


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pick up in a clinical setting yet permits patients to self-administer elsewhere without direct clinical
supervision, based on data confirming the safety of home administration. 14

       While we recognize that there are multiple factors informing the determination of whether
a REMS is necessary for any individual drug, 15 we note that FDA has determined that many other
drugs posing risks of serious adverse events can be successfully regulated through labeling without
a REMS. For example:

   •   Jeuveau® is an FDA-approved acetylcholine release inhibitor and a neuromuscular
       blocking agent “indicated for the temporary improvement in the appearance of moderate
       to severe glabellar lines associated with corrugator and/or procerus muscle activity in adult
       patients”—i.e., it is indicated for a purely cosmetic purpose among a healthy population.
       Jeuveau carries a black-box warning for “[s]wallowing and breathing difficulties” that “can
       be life threatening” if this botulinum toxin product spreads beyond the area of injection,
       and the labeling notes that “there have been reports of death.” 16
   •   Propecia®, a drug “indicated for the treatment of male pattern hair loss,” had its labeling
       updated in 2011 to reflect that this cosmetic medication may cause an “increased risk of
       high-grade prostate cancer.” 17
   •   NuvaRing® is an estrogen/progestin combination hormonal contraceptive (“CHC”)
       inserted as a vaginal ring, which carries a black-box warning for “serious cardiovascular
       events” with increased risk among cigarette smokers. 18 Its labeling warns patients that
       CHCs pose a risk of “death from heart attack, blood clots or stroke.”19 Other serious risks
       associated with NuvaRing include Toxic Shock Syndrome and liver tumors. 20
   •   Coumadin®, a common anticoagulant, carries a black box warning for “major or fatal
       bleeding,” with risk ranging from 0.6 to 4.6% for patients with certain comorbidities. 21

For all of these drugs, FDA has determined that the benefits outweigh the risks even in the absence
of a REMS. Now, with the benefit of additional safety and efficacy data on mifepristone reported
over the past five years, we urge you to find that mifepristone’s risks likewise can be appropriately
managed through labeling without a REMS.

                      The Mifepristone ETASU Are Unduly Burdensome

        The REMS statute prohibits ETASU that are “unduly burdensome on patient access to the
drug, considering in particular . . . patients who have difficulty accessing health care (such as
patients in rural or medically underserved areas).” 22 The statute further requires that any ETASU
be crafted to “minimize the burden on the health care delivery system,” “[t]o the extent
practicable.” 23Accordingly, FDA has emphasized that a “REMS should be designed to meet the
relevant goals, not unduly impede patient access to the drug, and minimize the burden on the health
care delivery system to the extent practicable.” 24 While a drug sponsor may request changes to a
REMS program, it is FDA that is responsible for ensuring that any REMS comports with all
statutory and regulatory requirements and limitations, regardless of what the sponsor has proposed
or requested.25



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        The mifepristone ETASU do not comply with these requirements. Extensive evidence
shows that these ETASU significantly impede patient access, and do so in part by burdening health
care providers. And, whereas FDA has long acknowledged that mifepristone is “important to the
health of women,” 26 has underscored the need to prevent treatment delays for mifepristone
patients, 27 and has stressed that unwanted pregnancy can be a “serious medical condition,” 28
substantial evidence shows that the mifepristone ETASU cause treatment delays and prevent some
pregnant patients from obtaining a desired abortion at all.

        Attached as appendices are several declarations that were submitted as part of the Chelius
v. Becerra litigation, which provide first-hand physician narratives, research, and statistical
analysis detailing how the mifepristone ETASU unduly burden the health care delivery system and
patients’ access to this medication. We appreciate your consideration of all of this relevant
evidence, which we briefly summarize below:

        First, the mifepristone ETASU reduce the pool of qualified clinicians providing
medication abortion, including in the geographic areas most lacking in abortion access. For
instance, in a nationally representative survey of currently practicing board-certified obstetrician-
gynecologists, fewer than one in five respondents who see patients seeking abortion care reported
having provided a medication abortion during the previous year—but the proportion of medication
abortion providers would likely double if clinicians were permitted to prescribe mifepristone
through a pharmacy. 29 Notably, the number of respondents in the South and Midwest who said
they would begin providing medication abortion if not for the REMS was higher than the number
who were currently providing such care. 30 This finding is of particular significance given the
increasing efforts by states in the South and Midwest to ban abortion at all but the earliest weeks
of pregnancy. 31 Put plainly, if there are more medication abortion providers in those states, more
patients will be able to obtain abortions before confronting those (unconstitutional) gestational age
limits. Moreover, while the overwhelming majority of current abortion providers practice in urban
areas, 40% of OB-GYNs who responded that they would provide medication abortion care if not
for the REMS identified their practices as “suburban” or “midsize town, rural, or military.” 32

        Specifically, ETASU C burdens the health care delivery system and severely reduces
patient access because of the challenges of obtaining institutional approval to dispense
mifepristone onsite, and the complicated logistics necessary to do so. It is extremely unusual for
health care providers to have to serve as, in effect, both prescribers and pharmacists; as noted
above, fewer than 0.1% of FDA-approved drugs must be dispensed in a hospital, medical office,
or clinic. Thus, health care institutions typically must develop unique protocols around the
dispensing of mifepristone onsite, which can significantly delay clinicians’ ability to prescribe this
medication or prevent them from doing so at all. As just one example, it took five years and
hundreds of hours of individual clinician and stakeholder advocacy before mifepristone was
available to patients at the University of Michigan’s Women’s Clinic. After years of clinician
lobbying to add mifepristone to the institution’s formulary, personnel across the organization then
had to develop protocols for ordering, storing, and dispensing the medication (including “opt-out”
protocols for staff opposed to any involvement in such activities), as well as establish insurance
and billing practices. Many clinicians would face none of these burdens if their patients could
simply fill their mifepristone prescription through a retail or mail-order pharmacy.



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        Additionally, ETASU C exacerbates these logistical burdens by enabling interference by
individuals opposed to abortion. Instead of being able to simply issue a mifepristone prescription
for an eligible patient to fill at a pharmacy, clinicians seeking to prescribe mifepristone must—as
a direct result of ETASU C—involve numerous other health care staff in the process of procuring,
stocking, dispensing, and billing for mifepristone onsite. As a practical matter, this means that
even a single colleague who objects to abortion can substantially delay, or altogether derail, a
clinician’s ability to prescribe a safe and effective medication that their patients urgently need.

        ETASU A also deters many qualified clinicians from becoming mifepristone prescribers.
In light of the long history of anti-abortion violence and harassment in this country, some
physicians are unwilling to register with the mifepristone sponsors—fearful of what they and their
families might face if abortion opponents were ever able to access their certification agreements.
While the drug manufacturers and distributors are required to maintain that information strictly
confidentially, these clinician fears are not unfounded; indeed, in our litigation, FDA was
unwilling to provide Plaintiffs with the names or offices of agency staff who had been involved in
any Mifeprex reviews, even subject to a protective order requiring strict confidentiality of
Plaintiffs and their counsel. 33 Prescriber certification presents a real barrier to patient access, and,
as discussed above, there is no evidence showing that this ETASU advances any countervailing
safety interest sufficient to outweigh these burdens.

        Second, ETASU C forces patients to travel unnecessarily to a mifepristone provider for no
medical reason, and in sharp contrast with the expansion of telemedicine nationwide. Across
virtually all other areas of medicine, a telemedicine revolution is increasing health care access in
medically under-resourced communities and reducing the need for patients to travel long distances
for care. But, while medically eligible mifepristone patients already can and do obtain all
evaluation and counseling via telemedicine, the REMS prohibits patients from filling their
prescription by mail or at a local pharmacy. Instead, FDA requires that mifepristone patients travel
to a health center for the sole purpose of picking up the pill and signing a form.

        It is important to understand that abortion access is very limited in the United States—in
part due to the burdens of ETASU C and A, which reduce the number of clinicians able to provide
this essential health care. A nationally representative sample of 8,000 abortion patients found that
patients traveled, on average, 68 miles round-trip to receive an abortion. 34 In a majority of states,
at least 20% of reproductive-age women live more than 100 miles round-trip from the nearest
abortion clinic. 35 And while rural areas are particularly lacking, patients in urban areas also
struggle. A 2018 study found that 27 major cities have no publicly advertised abortion provider
within 100 miles. 36 Requiring patients to pick up their mifepristone pill in person at a health center
thus in many cases requires significant travel.

        Given the mifepristone patient population, such travel can be incredibly difficult and in
some cases impossible. According to a nationally representative survey, in 2014 (the most recent
year for which such data are available), 75 percent of abortion patients had incomes at or below
the U.S. Official Poverty Measure. 37 Sixty percent of abortion patients identify as people of color,
including 53 percent of patients who identify as Black or Hispanic. 38 And 60 percent of abortion
patients have at least one child. 39 Forcing patients to travel in person to pick up the mifepristone
tablet at one of the (few) abortion providers in the country imposes costs and burdens relating to

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transportation, childcare, and lost wages for missed work that many in this patient population
simply cannot afford. Indeed, a robust body of research, spanning multiple states and decades,
confirms that forcing patients to travel even slightly farther (e.g., 10 miles) delays or blocks
patients from accessing desired abortions. 40 In short, these ETASU specifically burden “patients
who have difficulty accessing health care,” in violation of the REMS statute. 41

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        We welcomed FDA’s April 2021 announcement that it intends to exercise enforcement
discretion during the COVID-19 Public Health Emergency with respect to the dispensing of
mifepristone through the mail or through a mail-order pharmacy when such dispensing is done by or
under the supervision of a certified prescriber. We note that this enforcement discretion has mitigated
some (though not all) of the burdens on patients and the health care delivery system described in the
physician narratives attached as Appendices. Most significantly, enabling patients to obtain their
mifepristone prescription through telemedicine and mail-order pharmacies where medically
appropriate has prevented many patients from having to needlessly travel for health care during the
pandemic, reducing treatment delays and COVID-19 risks and enabling some patients to access
mifepristone who otherwise would not have been able to do so at all.

         In addition, having the option to submit a prescription to a pharmacy and then have the
pharmacy directly bill and dispense the mifepristone to their patient has enabled some qualified
physicians—who previously had been impeded by the complex logistics and controversy around
procuring, stocking, dispensing, and billing for mifepristone onsite at their health centers—to begin
prescribing this medication for the first time. This is consistent with the nationally representative OB-
GYN survey discussed above, which showed that eliminating the REMS would increase the pool of
qualified mifepristone prescribers. 42 If the other barriers imposed by the mifepristone ETASU are
lifted, even more qualified clinicians will be able to begin prescribing this safe and effective
medication.

        We appreciate FDA’s careful consideration of the extensive evidence showing that the
mifepristone REMS does not advance patient safety; causes treatment delays that undermine
patients’ health; subjects some patients who are unable to obtain mifepristone because of the
REMS to the serious medical risks of ongoing pregnancy and childbirth; and unduly burdens both
patients and the health care delivery system, with disproportionate harm to people living in rural
and medically underserved areas, people with fewer financial resources, and people of color.
Consistent with this sound evidence, we urge you to eliminate the mifepristone REMS.

                                               Sincerely,

                                        Dr. Graham Chelius
                                 The Society of Family Planning
                           The California Academy of Family Physicians

               Plaintiffs in Chelius v. Becerra, No. 1:17-cv-00493-JAO-RT (D. Haw.)

CC:     Dr. Patrizia Cavazzoni, Center for Drug Evaluation and Research
        Dr. Catherine Sewell, Center for Drug Evaluation and Research


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provision of abortion, FDA withheld FDA employee names and other identifying information from documents
related to Mifeprex in the administrative record . . . . Because releasing this information would constitute an
unwarranted invasion of personal privacy and could expose those employees to threats, intimidation, harassment
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